Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 1 of 10 PageID: 141




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY


CHARLES L. ADLER, GRANT ADLER,
C. M. ADLER, LLC,                                 Case No. 22-cv-06598-GC-DEA
                                                  DECLARATION OF RON
                     Plaintiffs,                  ANDERSON

      v.                                          Filed Electronically

GRUMA CORPORATION,
Defendant.


      Ron Anderson, of full age, hereby declares:

      1.     I am Vice President of Retail Sales for Gruma Corporation

(“Gruma”). I make this declaration based upon personal knowledge.

      2.     Gruma maintains its headquarters at 5601 Executive Dr. Suite 800,

Irving, Texas 75038.

      3.     Texas is the state where the company’s business affairs in the United

States are centered, especially as it relates to independent distributors. Some of its

business affairs carried out in Texas are specified below.

      4.     Gruma developed its policy and practice of designating distributors as

independent contractors in Texas.
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 2 of 10 PageID: 142




      5.        Texas is the state from which Gruma coordinates and carries out the

process of drafting and enforcing Store Door Distributor Agreements with

independent distributors, including the drafting and sending of notices to such

distributors.

      6.        Gruma coordinates in Texas the purchase and distribution of its

products by independent distributors in Texas.

      7.        Gruma employs in Texas its senior leadership staff, finance

employees, and its senior operation employees, and manages those employees that

interact with independent distributors throughout the United States.

      8.        Gruma creates and maintains in Texas its customer relationships with

customers that independent distributors distribute Gruma products to.

      9.        Texas is the state where Gruma determines prices for its products

purchased by independent distributors.

      10.       Gruma employs in Texas its technical team that assists with issues

related to the independent distributors’ use of their own or Gruma’s handheld

computers, which facilitate the processing of product orders, purchases, and sales.

      11.       Texas is where Gruma coordinates logistical efforts for utilizing third-

party carriers that are responsible for delivering product to the warehouses of

independent distributors (like plaintiff C. M. Adler, LLC) that utilize their own

warehouses.
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 3 of 10 PageID: 143
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 4 of 10 PageID: 144




                    EXHIBIT A
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 5 of 10 PageID: 145
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 6 of 10 PageID: 146
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 7 of 10 PageID: 147
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 8 of 10 PageID: 148
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 9 of 10 PageID: 149
Case 3:22-cv-06598-RK-DEA Document 7-2 Filed 02/13/23 Page 10 of 10 PageID: 150
